     Case 3:22-cv-00177-M Document 46 Filed 05/24/22              Page 1 of 2 PageID 1124



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

ASSOCIATION OF CLUB EXECUTIVES                   §
OF DALLAS INC et al.,                            §
                                                 §
        Plaintiffs,                              §
                                                 §           Civil Action No. 3:22-cv-00177-M
v.                                               §
                                                 §
CITY OF DALLAS TEXAS,                            §
                                                 §
        Defendant.                               §
                                                 §

                                PRELIMINARY INJUNCTION

        Before the Court is the Motion for Preliminary Injunction (ECF No. 3), filed by Plaintiffs

the Association of Club Executives of Dallas, Inc.; AVM-AUS, Ltd. d/b/a New Fine Arts Shiloh;

Nick’s Mainstage, Inc.–Dallas PT’s, d/b/a PT’s Men’s Club; Fine Dining Club, Inc., d/b/a Silver

City; 11000 Reeder, LLC, d/b/a Bucks Wild; and TMCD Corporation, d/b/a The Dallas Men’s

Club (collectively, “Plaintiffs”). For the reasons stated in the Court’s May 24, 2022,

Memorandum Opinion and Order, the Motion is GRANTED.

        It is ORDERED that the City of Dallas, Texas, its officers, agents, servants, attorneys,

and those acting in concert and participation with them, are hereby immediately enjoined and

prohibited from enforcing § 41A-14.3 of the Dallas City Code of Ordinances, which restricts

sexually oriented businesses, as defined in § 41A-2(31), from operating between the hours of 2

a.m. and 6 a.m.

        IT IS FURTHER ORDERED that, pursuant to Federal Rule of Civil Procedure 65(c),

Plaintiffs shall post a bond in the amount of $1.00. This preliminary injunction shall be effective




                                                 1
Case 3:22-cv-00177-M Document 46 Filed 05/24/22   Page 2 of 2 PageID 1125
